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FILED
RK, US. DISTRICT COURT

MAR 10 2015

  
 

 

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Attorneys for Plaintiff,
MARTIN SISSAC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

MARTIN SISSAC, GV45-1741 7am Fer
woe COMPLAINT FOR DAMAGES:
Plaintiff,
VS. 1. First Cause of Action for
CITY OF INGLEWOOD; MAYOR Violation of First
JAMES T, BUTTS; CHIEF OF POLICE Amendment and
MARK FRONTEROTTA AND DOES 1 Fourteenth Amendment of

E
THROUGH 10, INCLUSIVE, United States Constitution

against Individual

Defendants. Def endants

2. Second Cause of Action for
Violation of First
Amendment and Fourteenth
Amendment of United States
Constitution against City of
Inglewood under Monell

3. Violation of Labor Code
Section 1102.5-Whistleblower
Retaliation

4. Defamation
5. Violation of Govt. Code
§3304

DEMAND FOR JURY TRIAL

 

 

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COMPLAINT FOR DAMAGES

 
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PLAINTIFF MARTIN SISSAC, HEREINAFTER REFERRED TO AS
“PLAINTIFF”, ALLEGES AS FOLLOWS FOR CLAIMS FOR RELIEF

HEREIN:
I

JURISDICTION

l. This is an action for deprivation of civil rights under color of state law
brought pursuant to the Title 42 United States Code Section 1983, for remedies for
Defendants’ deprivation of Plaintiffs civil rights. By this action, Plaintiff seeks all
relief to which he may be entitled, under both state and federal laws, including but
not limited to compensatory and punitive damages, attorneys’ fees and costs, and
prejudgment interest. Jurisdiction of the subject matter of this action is established
in this court pursuant to 28 U.S.C. Section 1331 and 1343, and over supplemental
claims for relief arising under state law pursuant to 28 U.S.C. Section 1367(a).

Il
VENUE

2. Venue lies in this Court pursuant to 28 U.S.C. Section 1391(b)(1) and

(2).
Ul
CLAIMS FOR RELIEF

3. Plaintiff is an individual who at all times mentioned herein resided in
the State of California.

4, Plaintiff is informed and believes and based thereon alleges that
Defendants, and each of them, were and now are residents of the State of
California.

5. Defendants Mayor James T. Butts and Chief Mark Fronterotta and
Does | through 10, Inclusive, were residents of the State of California, and were
employees and representatives of the City of Inglewood. At all times relevant

hereto, said Defendants were acting within the course and scope of their

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COMPLAINT FOR DAMAGES
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employment. The wrongful acts hereinafter described flow from the very exercise
of their authority. Each Defendant named herein is sued in his/her individual and
official capacity.

6. Plaintiff is informed and believes and based thereon alleges that the
City of Inglewood is a municipality that owns and maintains its own law
enforcement agency, City of Inglewood Police Department (“IPD”), where the
Plaintiff was employed.

7. Plaintiff is informed and believes and based thereon alleges that at all
times herein mentioned, Defendants and DOES | through 10, inclusive, were
employed by or were agents of the City of Inglewood. Plaintiff is informed and
believes that DOES 1 through 10, inclusive are residents of County of Los
Angeles, State of California.

8. At all times herein, each and every Defendant was the agent of each
and every other Defendant and had the legal duty to oversee and supervise the
hiring, conduct and employment of each and every defendant named and unnamed
in this complaint.

9. The true names or capacities, whether individual, corporate, associate
or otherwise, of Defendants DOES 1 through 10, inclusive, are unknown to
Plaintiff who therefore sues these Defendants by such fictitious names. Each
Defendant is sued individually and in his/her official capacity as defined in the
present complaint. Plaintiff will seek leave to amend this complaint to show the
true names and capacities of these Defendants when they have been ascertained.

Each of the fictitiously named Defendants is responsible in some manner for the

conduct or liabilities alleged herein.

10. Plaintiff is informed and believes and thereon alleges that, at all times
mentioned, each of the Defendants, including the fictitiously named defendants,
was the agent and employee of each of the remaining Defendants, and in doing the

things hereinafter alleged, was acting within the scope and course of such agency.

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COMPLAINT FOR DAMAGES
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IV
STATEMENT OF FACTS

lt. Plaintiff realleges and incorporates by reference, as though fully set
forth herein, each and every allegation set forth in paragraphs 1 through 10,
inclusive.

12. Plaintiff MARTIN SISSAC was hired by Defendants CITY OF
INGLEWOOD on October 18, 1993 as a police officer. In 2000, Plaintiff was
promoted to Sergeant and in 2006 he was promoted to Lieutenant. Plaintiff
performed at an exceptional level and in 2008, became one of the youngest
employees to be promoted to the position of Police Captain:

13. Asanewly appointed Captain, Plaintiff was assigned to the Office of
Administrative Services, (“OAS”) which was an office that at that time was in
charge of the following divisions and sections: (1) Custody division, (2) Records
division, (3) Property division, (4) Background unit, (5) Personnel section, (6)
Recruitment section, (7) Fiscal Services, (8) Grants, and (9) Facilities/Technology.
The other offices in the IPD at that time included the Office of Criminal
Investigations and the Office of Patrol Services. Plaintiffs ultimate goal was to be

transferred to Office of Patrol Services.

14. In early 2009, the United States Department of Justice, made a grant
available for qualified local police departments, which was called COPS Hiring
Recovery Program (CHRP). CHRP, was a competitive grant program that provided
funding directly to law enforcement agencies, to be used to create and/or preserve
jobs. One of Plaintiff’s responsibilities while he was assigned to OAS, involved
CHRP. Plaintiff had to learn the requirements related to CHRP, make
recommendations pertaining to CHRP and was involved in applying for CHRP.

15. On July 31, 2009, IPD was awarded 3 million dollars from CHRP to
hire 10 police officers. However, under the CHRP rules, there was a requirement

that the City needed to expend its money from the general account before it could

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draw funds from the grant for the hiring of police officers.

16. On September 22, 2009, in a Letter of Guidance from the United
States Department of Justice, the requirement was explained as follows:

“The non-supplanting requirement of the COPS statute means that COPS

funds may not be used to supplant or replace local funding which otherwise

would have been spent on law enforcement purposes.”

17. Due to the City having funds in the general account for the hiring of
new police officers, although the grant funds were available, based on the
nonsupplanting requirement of the COPS statute, the City was unable to use the $3
million dollars grant money for hiring of new police officers.

18. On January 11, 2011, Defendant James T. Butts was elected as
Mayor of Inglewood. After James Butts became mayor, he communicated that he
wanted to find a way to be able to utilize the $3 million dollars that was allocated
from the CHRP grant, but had not been spent due to the legal limitations.

19. On July 27, 2011, Plaintiff attended a meeting to discuss CHRP. The
following people attended the meeting: Mayor James T. Butts, the City Manager,
Artie Field, then Chief of Police Jacqueline Seabrooks, the interim City Manager,
Mark Weinberg and two subordinates. The Mayor wanted to know if the CHRP
grant could be used by modifying the grant from its initial purpose of hiring new
police officers to another permissible purpose of retaining police officers that
would have otherwise needed to be laid off due to budget constraints. During the
meeting, Artie Fields explained that the City can obtain the grant funds by making
it appear that the City needed to lay off officers. Plaintiff spoke out in
disagreement with Mr. Fields’ suggestion and explained that based on his
experience and training with the grant, that suggestion would be illegal because it
would violate CHRP’s non supplanting requirement. Mayor Butts laughed at
Plaintiff's comment in a disparaging manner.

20. On July 28, 2011, Artie Field requested that Plaintiff meet with him in

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COMPLAINT FOR DAMAGES

 
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his office to discuss CHRP. Mr. Fields stated that the City planned on using CHRP
funds to offset the cost of police officer staffing costs. Plaintiff once again
explained that it appeared that the City was intentionally planning on supplanting
General Fund monies with CHRP funds and that the City could not do that because
it was illegal. Following the meeting, Plaintiff met with Chief Seabrooks and
expressed to her that it appeared that Mr. Fields intended on supplanting General
Fund monies with CHRP funds.

21. On October 4, 2011, the Inglewood Today reported as follows,
“According to Mayor Butts, a $3 million, 3-year grant has been secured for the
Inglewood Police Department.”

22. On October 4, 2011, Captain Fronterotta called Plaintiff on the
telephone to report that Chief Seabrooks will send layoff notices to eight police
officers on October 5, 2011. Plaintiff asked if the City really planned on laying off
these eight police officers and he was told that they were not. Plaintiff expressed to
Captain Fronterotta that he would not be part of this inappropriate and illegal
action. Plaintiff re-explained the non-supplanting clause in the CHRP grant.

23. On October 5, 2011, Chief Seabrooks and Captain Fronterotta met
with eight police officers who were purportedly going to be laid off, to enable the
City to obtain the grant money. It was explained to the 8 officers that they were
going to receive layoff notices, but they were not really going to be laid off.

24. In October of 2011, after it became evident that the City was
violating the law, Plaintiff met with the City Attorney, Cal Saunders, and
expressed to him his concerns that the City was violating the law. Cal Saunders
stated that he would look into the matter. Instead of looking into the legality of the
matter, Cal Saunders disclosed the discussion that he had with the Plaintiff to
Defendant Mayor Butts.

25. Asa result of Plaintiff's disclosures that the City was acting illegally,
Plaintiff became the target of retaliation as follows:

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COMPLAINT FOR DAMAGES

 
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A.

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On February 1, 2012, Defendant Butts, publicly humiliated the
Plaintiff in a debriefing in the presence of Plaintiff's subordinates,
following a visit to Inglewood by the First Lady, Michelle Obama.
The public chastising and criticisms were unwarranted and was a clear
indication of Defendant Butt’s strong dislike for the Plaintiff.

In early 2012, Plaintiff became the subject of an internal affairs
investigation into allegations that he created a hostile work
environment for two subordinates. The investigation was baseless and
was pretext for the underlying goal of defaming the Plaintiff and
retaliating against the Plaintiff.

On February 29, 2012, Plaintiff was informed that a psychologist was
hired to evaluate him because he acted in a manner that was a physical
threat to his staff. The evaluation was conducted on March 6, 2012.
On May 2, 2012, Plaintiff learned that he was exonerated in the
hostile work environment investigation.

Plaintiff was shunned by command staff and removed from all
decision making.

In May of 2012, after Plaintiff accepted a voluntary transfer from
Detective Bureau (Office of Criminal Investigations) to the Office of
Administrative Services (Office of Administrative Services “OAS”),
the IPD, suddenly underwent a reorganization which removed key
responsibilities from the Plaintiff that would otherwise be a part of
OAS. In the reorganization, Plaintiff was no longer in charge of the
units that handled any of the financial aspects of the IPD, including
Fiscal Services, and Grants.

Despite repeated requests to transfer to Patrol Bureau, which is known
as a stepping stone for promotional opportunities within the

department and outside the department, Plaintiff was denied the

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transfer requests and the prestigious assignment was given to Captains
with less experience and less seniority than the Plaintiff.

26. As a result of the adverse employment actions and the hostile
environment that was created, from April of 2013 to March of 2014, Plaintiff
accepted a position with Inglewood Unified School District, as Chief of Police of
the Inglewood Unified School District Police Department. The position was made
available as a result of a contract between the City of Inglewood and the
Inglewood Unified School District. While Plaintiff was working as the Chief of
Public Safety Services (Chief of Police) for the Inglewood Unified Schoo! District,
he was prohibited from wearing the insignia of Chief of Police, which was another
attack against the Plaintiff.

27. On April 15, 2014, when the City and the Unified School District did
not renew their contract, Plaintiff was forced to return to the IPD. Plaintiff
requested to be assigned to the Patrol Bureau, and believed based on his seniority
and his experience he should have been assigned to Patrol. Chief Fronterotta
refused to assign Plaintiff to Patrol Bureau. For approximately three months
Plaintiff was not given any assignments and was forced to sit in his office without
an assignment. Chief Fronterotta was aware that Plaintiff was sitting in his office
without any assignments. Plaintiff complained to the Chief that he was hampering
his career development by not assigning him a bureau to command and specifically
by not assigning him to the Patrol Bureau. Historically, Police Captains are rotated
through all the Bureaus to develop well rounded police administrators. The typical
progression of a Police Captain is to start at the Administrative Services Bureau
(formerly OAS) then transfer to Detective Bureau (formerly OCI) and finally to the
Patrol Bureau (formerly OPS). Despite his seniority, Plaintiff was continuously
refused the assignment to Patrol Bureau.

28. After Plaintiffs return to the IPD, the retaliation continued as follows:

A. On May 20, 2014, Plaintiff was served with a written reprimand for an

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COMPLAINT FOR DAMAGES

 
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incident that occurred more than one year prior in violation of
Plaintiff's rights under the Peace Officer Bill of Rights Act,
(POBRA). The written reprimand pertained to a trumped up allegation
that Plaintiff missed a training that he was exempt from attending. On
June 17, 2014, Plaintiff filed an appeal where he alleged that the
written reprimand was in violation of POBAR and that he has been
suffering from disparate treatment and hostile working environment
for the past two years. Defendant Chief Fronterotta overturned the
penalty in response to the appeal, but in violation of applicable rules,
failed to remove the written reprimand from Plaintiff's personnel file.
On June 9, 2014, Plaintiff learned that Mayor Butts had published a
defamatory statement about him to Kevin Harris a father of a
homicide victim, whom Plaintiff had developed a close relationship
with. During the conversation Kevin Harris was complementing the
Plaintiff stating that he was the only one that would communicate
with him from the department. Mayor Butts responded by stating that
Plaintiff has severe deficits in his performance. Kevin Harris was
shocked by Mayor Butts’ statements. On information and belief it is
alleged that Mayor Butts, routinely defamed the Plaintiff.

On July 15, 2014, Plaintiff was served with a 2012-2013 performance
evaluation. This evaluation was the only evaluation he had received
since 2010. The evaluation including erroneous and disparaging
statements about the Plaintiff. The performance evaluation included a
document entitled “Performance Concerns” that contained erroneous
statements critiquing the Plaintiffs recommendations to follow
established hiring practices. The document entitled “Performance
Concerns” was not a written reprimand, but a document which

Defendant Fonterotta kept to document erroneous charges against the

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Plaintiff and to further defame and humiliate him.

D. In the performance evaluation, Chief Fronterotta failed to include
complimentary information that should have been included pertaining
to Plaintiff's performance as the Chief of Police of Inglewood Unified
School District. The IPD received complimentary information about
the Plaintiff from various members of the Unified School District, but
none of that information was included in Plaintiff's performance

evaluation.
E. Plaintiff was left out of decision making affecting his area of

command.

F. On July 17, 2014, Defendant Fronterotta took further steps to diminish
the duties and responsibilities of the Plaintiff who was assigned to the
Administrative Bureau. In another reorganization, 1) Fiscal Services,
(2) Grants, (3) Technology, (4) Training/Range, (5) Personnel Section
(7) Background Section, and (8) Recruitment Section were removed
from Plaintiff's control. Under the new reorganization the only
remaining units under Administrative Bureau were Custody and
Records.

29, On July 22, 2014, Plaintiff filed a grievance pertaining to the
erroneous and defamatory performance evaluation. Plaintiff indicated in his
grievance that the performance evaluation was retaliation against him because he
expressed his concern that the actions of the Defendants, were unethical and/or
criminal. The IPD failed to investigate Plaintiff's allegations that he was the victim
of retaliation.

30. On August 22, 2014, Plaintiff filed a claim for damages alleging that
Chief Fronterotta violated POBAR by initiating an investigation over a year after
the alleged violation occurred.

31. On September 6, 2014, Plaintiff was informed that his request to

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COMPLAINT FOR DAMAGES

 

 
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attend the LAPD Leadership Program was denied. The request had been approved

previously.
V.
INJURIES TO PLAINTIFF

32. As aresult of the aforesaid unlawful acts of defendants, and each of
them, Plaintiff suffered from physical illness and physical injuries and was
personally humiliated and has become mentally upset, distressed and aggravated
from Defendants’ wrongful acts and/or omissions as described herein. Plaintiff has
suffered from tachycardia, sleeplessness, depression, anxiety, loss of identify,
weight loss, and isolation. Plaintiff's has been humiliated from the defamation and
the attacks on his character. Plaintiffs also alleges that he lost and will continue to
lose income from loss opportunities, benefits and pension, in an amount to be
proven at time of trial. Plaintiff claims such amount as damages together with
prejudgment interest pursuant to California Civil Code § 3287 and/or any other
provision of law providing for prejudgment interest.

VI.
FIRST CAUSE OF ACTION
VIOLATION OF FIRST AMENDMENT AND FOURTEENTH
AMENDMENT OF UNITED STATES CONSTITUTION (42 U.S.C.
§§1983 AND 1988)
BY PLAINTIFF AGAINST THE INDIVIDUALLY NAMED
DEFENDANTS IN THE THEIR OFFICIAL AND INDIVIDUAL
CAPACITY AND DOES 1 THROUGH 10, INCLUSIVE
33. Plaintiff realleges and incorporates by reference, as though fully set

forth herein, each and every allegation set forth in paragraphs 1 through 32,
inclusive.
34. This cause of action arises under Title 42 United States Code, §§ 1983

and 1988 wherein Plaintiff seeks to redress deprivation under color of state law of

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COMPLAINT FOR DAMAGES

 
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a right, privilege or immunity secured under the First Amendment and applied to
the States under the Fourteenth Amendment.

35. Asa result of above described intentional acts and omissions of the
Defendants and each of them, Plaintiff's constitutional right that is the First
Amendment was violated when as a result of Plaintiff engaging in protected
speech, Defendants engaged and continue to engage in a pattern of retaliation
against the Plaintiff and have created a hostile work environment.

36. Plaintiff engaged in speech that was a matter of public concern by
speaking about the illegal conduct of certain public officials in the manner that
they were using the $3 million dollar CHRP federal grant.

37. Plaintiff engaged in the First Amendment speech as a private citizen
and not as part of his official duties. Plaintiff's report about the illegality of the
CHRP grant to the City Attorney.

38. As described herein, Plaintiff's protected speech was a substantial or
motivating fact in the adverse employment action taken against the Plaintiff.

39. Each of the individually named defendants were aware that Plaintiff
engaged in protected speech.

40. There was no adequate justification for Plaintiff to suffer from the
adverse actions described herein and it was clear that Plaintiff suffered from
unjustified disparate treatment.

41. Absent the protected speech of the Plaintiff, the Plaintiff would not
have suffered from the adverse action taken against him, and thus the Defendants
did not have a legitimate reason to take the adverse actions described herein.

42. The above referenced acts and omissions of the individually named
Defendants and each of them, were conducted in their law enforcement or official
capacity.

43. Plaintiff is informed and believes and thereby alleges that at all times

mentioned herein, the named individual Defendants and DOES 1 through 10,

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COMPLAINT FOR DAMAGES

 
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inclusive, and each of them, were duly appointed, qualified and acting
agents/employees, of the City of Inglewood, State of California, and that at all
times mentioned herein, were acting within the course and scope of such capacities
under the color of state law.

44. Defendants and DOES | through 10, inclusive, and each of them,
failed and refused to intervene or prevent or try to prevent the wrongful conduct of
the other.

45. As a proximate result of the aforementioned acts of Defendants, and
each of them, Plaintiff suffered from a physical injury and illness, mental anguish,
emotional stress and anxiety damages, in a sum to be determined by this Court.
Plaintiff also expended medical expenses for treatment for his injuries and claims
special damages in a sum to be determined by this Court.

46. As a further proximate result of the aforementioned acts of
Defendants, and each of them, Plaintiff suffered from loss of income, loss of future
income, loss of benefits and loss of pension benefits in a sum to be determined by
this Court. Plaintiff will also seek prejudgment interest for loss of past income.

47. The aforementioned acts and omissions of each Defendant was done
by each Defendant knowingly, intentionally, willfully, maliciously or with such
callous disregard with purpose of harassment, oppression and infliction of injury
upon the Plaintiff. This was done with reckless, wanton and callousness of
Plaintiffs civil rights and by reason thereof Plaintiff claims exemplary and
punitive damages from Defendants and DOES 1 through 10, inclusive, except
Defendant City of Inglewood in the sum determined by this Court, to deter, prevent
and educate said Defendants from ever inflicting such injuries again upon any
individual.

48. By reason of the aforementioned acts and omissions of Defendants,
and each of them, Plaintiff retained attorneys to represent him and did incur

investigation costs, expenses, attorneys’ fees, and legal costs. Plaintiff requests

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COMPLAINT FOR DAMAGES

 

 
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payments by Defendants, and each of them, for compensation of fees and costs
pursuant to Title 42 U.S.C. § 1988.
SECOND CAUSE OF ACTION
MONELL CLAIM FOR VIOLATION OF THE FIRST
AMENDMENT AND FOURTEENTH AMENDMENT
AGAINST THE CITY OF INGLEWOOD

49. Plaintiff refers to and incorporates by reference the allegations in
Paragraphs | through 48, inclusive, as if set forth in full here.

50. Defendants City of Inglewood is alleged to have maintained a policy
permitting the occurrence of the type of wrongs described herein, and based on the
principal set forth in Monell vs. New York City Department of Social Services
(1978) 436 U.S. 648 and Heller vs. Bushey (9" Cir. 1985) 759 F.2d 1371, is liable
for all injuries sustained by Plaintiff.

51. In perpetrating the above referenced acts and omissions, the
Defendant City of Inglewood, hereinafter referred to as “City”, was at all relevant
times herein, a municipality.

52. Plaintiff's civil rights were violated under 42 U.S.C. § 1983 when asa
result of a policy, custom and practice of the City of Inglewood, as promulgated by
the City of Inglewood’s policymakers including Defendant Mayor Butts and
Defendant Chief Fronterotta, Plaintiff's first amendment rights were violated when
he was retaliated against as set forth herein.

53. The conduct of the Defendant City of Inglewood as stated herein, and
the violation of the civil rights of the Plaintiff was the product of a policy to
retaliate against the Plaintiff for engaging in protected speech. By approving and
participating the wrongful and retaliatory termination of the Plaintiff, the
policymakers ratified the unlawful actions of its subordinates and thus Defendant
City of Inglewood is liable under Monell vs. New York City Department of Social
Services (1978) 436 U.S. 648.

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COMPLAINT FOR DAMAGES
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54. As a result of the above described intentional acts and omissions of
Defendant City of Inglewood, Plaintiff's constitutional rights, that is, the First and
Fourteenth Amendments were violated when Plaintiff suffered from adverse
employment actions as described herein.

55. As a proximate result of the aforementioned acts of Defendants, and
each of them, Plaintiff suffered from a physical injury and illness, mental anguish,
emotional stress and anxiety damages, in a sum to be determined by this Court.

56. As a further proximate result of the aforementioned acts of
Defendants, and each of them, Plaintiff suffered from loss of income, loss of future
income, loss of benefits and loss of pension benefits in a sum to be determined by
this Court.

57. By reason of the aforementioned acts and omissions of Defendants,
and each of them, Plaintiff retained attorneys to represent him and did incur
investigation costs, expenses, attorneys’ fees, and legal costs. Plaintiff requests
payments by Defendants, and each of them, for compensation of fees and costs
pursuant to Title 42 U.S.C. § 1988.

THIRD CAUSE OF ACTION
WHISTLEBLOWER RETALIATION IN VIOLATION OF LABOR
CODE SECTION 1102.5 AGAINST ALL DEFENDANTS

58. Plaintiff refers to and incorporates by reference the allegations in
Paragraphs | through 57, inclusive, as if set forth in full here.

59. Plaintiff engaged in protected activity pursuant to Labor Code Section
1102.5, by reporting to the City Counsel of the City of Inglewood that Defendants
were engaging in criminal activity by defrauding the Federal Government in the
manner that they were using the $3 million dollar, CHRP grant.

60. As a result of Plaintiff engaging in protected activity pursuant to
Labor Code Section 1102.5, Defendants and each of them, engaged in retaliation as
provided herein.

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COMPLAINT FOR DAMAGES

 

 
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61. Each of the defendants were aware that Plaintiff engaged in protected
speech.

62. There was no adequate justification for Plaintiff to suffer from the
adverse actions described herein and it was clear that Plaintiff suffered from
unjustified disparate treatment.

62. Absent the protected speech of the Plaintiff, the Plaintiff would not
have suffered from the adverse action taken against him, and thus the Defendants
did not have a legitimate reason to take the adverse actions described herein.

63. The above referenced acts and omissions of the individually named
Defendants and each of them, were conducted in their law enforcement or official
capacity.

64. Plaintiff is informed and believes and thereby alleges that at all times
mentioned herein, the named individual Defendants and DOES 1 through 10,
inclusive, and each of them, were duly appointed, qualified and acting
agents/employees, of the City of Inglewood, State of California, and that at all
times mentioned herein, were acting within the course and scope of such Capacities
under the color of state law.

65. Defendants and DOES | through 10, inclusive, and each of them,

failed and refused to intervene or prevent or try to prevent the wrongful conduct of

the other.
66. As a proximate result of the aforementioned acts of Defendants, and

each of them, Plaintiff suffered from a physical injury and illness, mental anguish,
emotional stress and anxiety damages, in a sum to be determined by this Court.
Plaintiff also expended medical expenses for treatment for his injuries and claims
special damages in a sum to be determined by this Court. |

67. As a further proximate result of the aforementioned acts of
Defendants, and each of them, Plaintiff suffered from loss of income, loss of future

income, loss of benefits and loss of pension benefits in a sum to be determined by

-16-
COMPLAINT FOR DAMAGES
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this Court. Plaintiff will also seek prejudgment interest for loss of past income.

68. The aforementioned acts and omissions of each Defendant was done
by each Defendant knowingly, intentionally, willfully, maliciously or with such
callous disregard with purpose of harassment, oppression and infliction of injury
upon the Plaintiff. This was done with reckless, wanton and callousness of
Plaintiff's civil rights and by reason thereof Plaintiff claims exemplary and
punitive damages from Defendants and DOES 1 through 10, inclusive, except
Defendant City of Inglewood in the sum determined by this Court, to deter, prevent
and educate said Defendants from ever inflicting such injuries again upon any
individual.

69. By reason of the aforementioned acts and omissions of Defendants,
and each of them, Plaintiff retained attorneys to represent him and did incur
investigation costs, expenses, attorneys’ fees, and legal costs. Plaintiff requests
payments by Defendants, and each of them, for compensation of fees and costs.

70. On November 25, 2014, Plaintiff filed a claim for damages with the
City of Inglewood. On January 14, 2015, Plaintiff received notice that his claim for
damages was denied. A copy of the Claim for Damages and the Denial letter is
attached hereto as Exhibit “A”.

FOURTH CAUSE OF ACTION
DEFAMATION AGAINST THE INDIVIDUAL DEFENDANTS

71. Plaintiff refers to and incorporates by reference the allegations in
Paragraphs | through 70, inclusive, as if set forth in full here.

72. On June 9, 2014, Defendant Butts published a defamatory statement
about the Plaintiff by stating to a civilian that Plaintiff had severe deficits in his
performance.

73. The statement was defamatory in that it addressed Plaintiff's
performance as a Police Captain. The statement was also untrue since Plaintiff did

not have severe deficits in his performance. In addition, the statement was not

-17-
COMPLAINT FOR DAMAGES

 
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privileged and it was made with malice, because Defendant Butts had personal
animosity towards the Plaintiff because the Plaintiff stated that Defendant Butts
had engaged in illegal conduct with regards to his handling of the CHRP grant as
alleged herein.

74. On July 15, 2014, Plaintiff was served with a performance evaluation
drafted by Defendant Chief Fronterotta. As provided herein, the performance
evaluation contained defamatory and untrue statements about Plaintiff's
performance. The statements were not privileged since it was made with malice,
because Defendant Fronterotta, had personal animosity towards the Plaintiff
because Plaintiff stated that Def

75. Defendant Fronterotta had engaged in illegal conduct with regards to
his handling of the CHRP grant as alleged herein.

75. As a proximate result of the aforementioned act of the Defendant
Butts Plaintiff suffered from a physical injury and illness, mental anguish,
emotional stress and anxiety damages, in a sum to be determined by this Court.
Plaintiff also expended medical expenses for treatment for his injuries and claims
special damages in a sum to be determined by this Court.

76. As a further proximate result of the aforementioned acts of
Defendants, and each of them, Plaintiff suffered from loss of income, loss of future
income, loss of benefits and loss of pension benefits in a sum to be determined by
this Court. Plaintiff will also seek prejudgment interest for loss of past income.

77, The aforementioned acts and omissions of each Defendant was done
by each Defendant knowingly, intentionally, willfully, maliciously or with such
callous disregard with purpose of harassment, oppression and infliction of injury
upon the Plaintiff. This was done with reckless, wanton and callousness of
Plaintiff's rights and by reason thereof Plaintiff claims exemplary and punitive
damages from Defendants and DOES 1 through 10, inclusive, except Defendant

City of Inglewood in the sum determined by this Court, to deter, prevent and

-18-
COMPLAINT FOR DAMAGES

 
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Case 2:15-cv-01741-JAK-FFM Document1 Filed 03/10/15 Page 19o0f35 Page ID#:24

educate said Defendants from ever inflicting such injuries again upon any
individual.

78. On November 25, 2014, Plaintiff filed a claim for damages with the
City of Inglewood. On January 14, 2015, Plaintiff received notice that his claim for
damages was denied. A copy of the Claim for Damages and the Denial letter is
attached hereto as Exhibit “A”.

FIFTH CAUSE OF ACTION
VIOLATION OF GOV’T CODE §3304 AGAINST DEFENDANT
CITY OF INGLEWOOD

79. Plaintiff refers to and incorporates by reference the allegations in
Paragraphs | through 78, inclusive, as if set forth in full here.

80. On May 16, 2014, Plaintiff received a written reprimand from
Defendant Chief Fronterotta, regarding an incident-missed training class-which
occurred on or about April 1 through April 3, 2013. On April 4, 2013, Chief
Fronterotta was made aware that Plaintiff missed the training class.

81. Pursuant to Government Code §3304, the IPD had one year to timely
propose punitive action including a reprimand. The statute of limitations to
propose discipline therefore expired on April 4, 2014.

82. The IPD sought to circumvent compliance with Government Code
§3304, by falsely and maliciously claiming that the incident which gave rise to the
reprimand occurred on May 21, 2013 and not on April 1-3, 2013.

83. Government Code §3309.5(d)(1) provides that in any case where the
superior court finds that a public safety department has violated any of the
provision of this chapter, the court shall render appropriate injunctive relief to
remedy the violation and to prevent future violations of like or similar nature.
Plaintiff therefore seeks injunctive relief by way of an order from the Court to have
the IPD remove and rescind the May 16, 2014 written reprimand, and any
references to the written reprimand from Plaintiffs personnel file.

-19-
COMPLAINT FOR DAMAGES

 

 
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84, Government Code §3309.5 (e) provides that upon a finding by a
superior court that a public safety department or its employees maliciously violated
any provision of this chapter with the intent to injure the public safety officer, the
public safety department shall for each and every violation by liable for a civil

penalty not to exceed twenty five thousand dollars and for reasonable attorney’s

fees as may be determined by the Court.
85. Plaintiff seeks an award of $25,000 pursuant to Government Code

§3309.5(e) and reasonable attorney fees, because the actions of Defendant
Fronterotta in giving Plaintiff a written reprimand on May 16, 2014, for missing
training which occurred on April 1-3, 2013, was malicious, and was part of an
overall pattern of harassment and retaliation against the Plaintiff.

86. Plaintiff duly filed a government entity claim pertaining to
Defendant’s violation of Government Code §3304. On October 22, 2014,
Defendant City of Inglewood, sent Plaintiff a notice of denial. Attached hereto as

Exhibit “B” is the claim form and denial letter,

WHEREFORE, Plaintiff prays for judgment on all causes of actions against

the Defendants as follows:

l. For general damages in an amount according to proof;
2. For special damages in an amount according to proof;
3. For punitive damages in an amount appropriate to punish the

Individual Defendants, for their wrongful conduct. Punitive Damages
are not sought against the City of Inglewood.

4, For attorneys fees pursuant to Title 42 of the United States Code,
Section 1988(b);

5, For costs of suit herein incurred;
6, For interest allowed by law; and
-20-

 

 

 

COMPLAINT FOR DAMAGES
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Case 2:15-cv-01741-JAK-FFM Document1 Filed 03/10/15 Page 21 of 35 Page ID #:26

7. For such other and further relief as the Court may deem just and
proper.
Dated: March 5, 2015 LAW OFFICES OF JOSEPH Y. AVRAHAMY

 

By: La fm na :

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/OSePH for Plaintiff, :
MARTIN SISSAC

DEMAND FOR JURY TRIAL

The Plaintiff in the above entitled action request a trial by jury pursuant to

Rule 38(a) of the Federal Rules of Civil Procedure.

Dated: March 5, 2015 LAW OFFICES OF JOSEPH Y. AVRAHAMY

By: / if - ( bert

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JQSEPH Y. AVRAHAMY,
“Attomeys for Plaintiff, D
MARTIN SISSAC

-21-
COMPLAINT FOR DAMAGES

 

 
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 22 of 35 Page ID #:27

EXHIBIT “A”
Case 2:15-cv-01741-JAK-FFM Document1 Filed 03/10/15 Page 23 of SANG Pa
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Office of the City Clerk

 

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YVONNE HORTON
City Clerk

January 14, 2015

Law Offices of Joseph Y. Avrahamy
16530 Ventura Blvd Ste. 208 wow .
Encino, CA 91436 Oe

 

Claim of: Martin Sissac
Date of Loss: January 2012

Dear Law Offices of Joseph Y. Avrahamy:

Notice is hereby given that the claim, which your client filed on November 25,2014 was
denied by the Inglewood City Council on January 13,2015.

Subject to certain expectations, you have six (6) months from the date this notice was
personally delivered or deposited in the mail to file a court action on this claim. (See

Government Codes Section 945.6)

Sincerely,

Wa, TY

  
 

yvonne Horton
ity Clerk

/TC

Ce: Claims Adjustor

One W Manchester Boulevard * Inglewood, CA + 90301 * Phone (316) 412-5280 * Fax (310) 412-5533 - www. cityofinglewood.org
 

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Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 24 of 35 Page ID #:29

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CITY OF INGLEWOOD
CLAIM FOR DAMAGES

{Gov't Cade Title 1, Div 3.6, §§810 et seq; LM.C. 1-30}

IMPORTANT NOTICE
Pursuant to Gov't Code section 911.2, a claim for death, Injury to person or to persoadl property must be filed with the City of

Inglewood wirhin six (6) months af occurrence.
Puequane to Govt Gode section 911.2, a claim for damage to real property must be fled within one (1) year of occurrence.

When completing form, type or print legibly.
Failure to sign this forms and complete this form may rest in rejection of the Claim.
Lf there is inuficient space A oie omaplees information, attach additional sheers and ideadfying the additonal information by

aragraph number, and siguing cach sheet.
Cinias must be filed with tbe City of Inglewood, City Clack, 1 Manchester Biv, P.O. Sox 6500, Inglewood, CA 90912 (Govt Code

section FI5)},
CLAIMANT
(A} NAME:
(B) ADDRESS:

MARTIN J. SISSAG
2301 Sarah Court

Signal Hill, CA 90755
(eve)

 

 

(c) TetePHoNe No:: (day) __ (818) 990-1757
(D) Date op Brn: November 5, 1969
Mailing address you desire notices or communications to be sent regarding this Claim if different

from section #1 above.
(A) NAME: Law Offices of JOSEPH Y. AVRAHAMY

(B) ADDRESS: 16530 Ventura Boulevard, Suite 208, Encino, CA 91436

DESCRIPTION OF InJuRY, DAMAGE OR Loss
Detail full extent of injuries or damages claimed
Claimant claims tachycardia, sleeplessness, depression, anxiety, loss of identity, weight loss, and isglation.

Since the retaliation, Claimant has no sense of accomplishment and relationship at home suffers due to

perceived loss of contro! at work.

AMOUNT OF CLAIM ;
Indicate the amount of damages claimed and any expenditure made relating to claimed loss. Provide

documents to support the amount claimed and the expenditures (copies of bilis, receipts or estimates).
Claimant claims damages for general damages for pain and suffering in the amount of $3,000,000.00, special damages
Tor past and future medical expenses, and for loss of future earnings unknown at this time. In addition, Claimant will be

.Claiming-altorneys-tees-
Hes an insurance company pald any such bills: Yes

, Aetna Heaith of Califomia, Inc. - Health Care Partners HMO
If so, detail of and amount(s) pald: Amount unknown at this time.

 

Page 1 of 2
CLAIM FoR DAMAGES
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 25 of 35 Page ID #:30

5. CIRCUMSTANCE OF THE OCCURRENCE WHICH GIVE RISE To THIS CLAIM

(4) Dare DAMAGE, INJURY OR TRANSACTION OcounrED: /2Muary 2012 to Present Tape
(B} Spacc Location: _ City of Ingelwood Police Department, 1 Manchester Bivd., Inglewood, CA 90301

 

(C} SpaciwicaLry Dascriag HOw THE INJURY OR DAMAGE OccuRnED:
See attachment "A".

 

 

[DENTIFY THE ENTITY, PUBLIC SMPLOYEE OF EMPLOYEES WHOSE ACTS, OMISSIONS OR BREACH CLAIMED TO HAVE

CAUSED THE INIUHY OR DAMAGE:
Mayor James T. Butts and Chief Police Mark Fronterrota

(D)

 

Pusuic Empvoyer(s): NWA
VEHICLE Marz:

Monet: LICENSE:

 

 

WITNESSES: (NAMES AND ADDRESSES OF ALL KNOWN Wranessas, DocTors AND/OR HOSPITALS)
See attachment "B",

6. IF THIS CLAIM IS BASED ON AN ALLEGED BARACH OF CONTRACT:
Please attach a copy of the contract and:

(A) Denny THe Panties To THE CONTRACT: N/A

 

 

(B) Date or Conrracr:

(C) Date oF ALLEGED BREACH OF CONTRACT:
WARNING: ITIS.A CRIMINAL OFFENSE TO PILE A FALSE CLAIM (Pena! Code Section 72).

above claim and I inow the same to be true of my own

{ have read the matters aad statements made in de
knowledge, except as ta those matters stated upon information or bellef and a9 to such matters I believe the

same to be crue,

I DECLARE UNDER PENALTY OF
FOREGOING IS TRUE AND CORRECT,

Martin J. Sissac
(Signature of Chimant}

 

   
  
  
 

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(Date)

 
 

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Page d of 2
CLAIM FOR DAMAGES

 
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 26 of 35 Page ID #:31

City of Inglewood - Claim for Damages
Martin J, Sissac
Paragraph 5 (c)

ATTACHMENT “A”

For Whistleblower retaliation in violation of Labor Code Section 1102.5 and for Defamation against
Mayor James T. Butts.

City of Inglewood, Mayor James T. Butts, and Chief Mark Fronterotta, violated California Labor Code
§1102.5 by retaliating against Claimant Captain Martin J. Sissac, (“Claimant”) after he disclosed
information to government and/or law enforcement agency, that the Inglewood Police Department was
in violation of Federal Law, by violating the rules of the COPS Hiring Recovery Program grant, {CHRP)

which was issued by the United States Department of Justice to fund loca! police agencies who seek to
hire or retain police officers.

Claimant engaged in protected activity in October of 2011, when he reported to City Counsel, Cal
Saunders, that the City of Inglewood was violating CHRP rules and regulations so that it can obtain funds

from a $3 million federal grant.

After, Claimant reported the ilegal activities, Claimant was subjected to adverse employment actions
which included the following: stripping Claimants of his duties and responsibilities, undermining his
authority as a captain, subjecting the Claimant to unjustified investigations, subjecting the Claimant to
unjustified discipline, unjustifiably subjecting the Claimant to a threat assessment by a psychologist,
denying Claimant’s repeated requests to transfer to the position of Captain in charge of the Patrol
Division despite his seniority, unjustifiable ratings in performance evaluations, denial of training
opportunities, isolating the Captain from sworn officers that should be part of his chain of command,

public ridicule and humiliation, and other related actions.
These actions took place in the period starting January of 2012 and continue to the present.

in addition on June 9, 2014, Mayor lames. T. Butts, defamed the Claimant when he spoke to a civilian
and stated that the Claimant had severe deficits in his performance. This statement was not privileged

and was made with malice.

Claimant seeks, lost wages, damages for emotional distress, mental anguish and physical injuries,
punitive damages against Major James T. Butts and Chief of Police Mark Fronterrota.

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Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 27 of 35

City of Inglewood - Claim for Damages
Martin J. Sissac
Paragraph 5 — Witnesses

ATTACHMENT “B”

Doctors:
Advances and Breakthroughs in Mental Health

5199 E. Pacific Coast Hwy., Suite 330N
Long Beach, CA 90804

Phone: 562.365.2020; Fax: 562.239.2020
E-mail: info@aabmh.com

Dr. Benjamin Stepanoff

Mr. Roy Elavazo, NP

Ms. Melissa Paramo, MFT

Witnesses:
Mrs. Alicia M. Sissac
2301 Sarah Court
Signal Hill, CA 90755

Mr. Wayne Miles
Lieutenant Mark Fried
Lieutenant Neal Cochoran
Lieutenant Scott Collins
Mr. Michael Falkow

Mr. Jose Cortes

Detective Sherri Rumseuy
Mr. Cal Saunders

Ms. Judy Dunlap
Mr. Artie Fields — all located at: 1 Manchester Boulevard
Inglewood, CA 90301

Mr. Joe Dominguez

Dr. Denn Brann — both located at: 401 S. Inglewood Ave.
Inglewood, CA 90301

Chief Jacqueline Seabrooks

333 Olympic Drive

Santa Monica, CA 90401

Mr. Kevin Harris
unknown address

Ms. Ethel Austin
unknown address

Page ID #:32
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EXHIBIT “B”
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CITY OF INGLEWwoop
Office of the City Clerk | j }
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YVONNE HORTON
City Clerk

October 22, 2014

Howard Liberman, Esq., Silver, Hadden, Silver & Levine
1428 Second Street., #200, P.O Box 2161
Santa Monica, CA 90407-2161

Claim of: Martin Sissac
Date of Loss: May 16, 2014

Dear Howard Liberman Esq:

Notice is hereby given that the claim, which your client filed on August 21, 2014 was
denied by the Inglewood City Council on October 21, 2014.

Subject to certain expectations, you have six (6) months from the date this notice was
personally delivered or deposited in the mail to file a court action on this claim. (See

Government Codes Section 945.6)

 

City Clerk

‘TC

Ce: Claims Adjustor

One W Manchester Boulevard » Inglewood, CA + 90301 > Phone (310) 412-5280 + Fax (310) 412-5533 © www.cityofinglewood.org
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 30 0f 35 Page ID #:35
Inglewood

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CITY OF INGLEWOOD
CLAIM FOR DAMAGES

[Gov't Code Title 1, Div 3.6, §§810 et seq; LM.C. 1-30]

IMPORTANT NOTICE
Pursuant ta Gov't Code section 911.2, a claim for death, injury to person or to personal property must be filed with the City of

Inglewood within six (6) months of occurrence.
Pursuant to Gov't Code section 911.2, a claim for damage to real property must be filed within one (1) year of occurrence.

When completing form, type or print legibly.
Failure to sign this form and fully coniplete this form may result in rejection of the Claim.
If there is insufficient space to provide complete infarmation, attach additional sheets and identifying the additional information by

paragraph number, and signing each sheet.
Claims must be filed with the City of Inglewood, City Clerk, 1 Manchester Blvd., P.O. Box 6500, Inglewood, CA 90312 (Gov't Code
section 915).

VwYVY wv

1. CLAIMANT
(A) NAME _
(B) . ADDRESS: c/o Howard Libérman, Esq., Silver, Hadden, Silver & Levine

1428 Second St., #200, PO Box 2161, Santa Monica, CA 90407-2161

(c) TELEPHONE No:: (day) (310) 393-1486 (eve)

(@). Datgor Batu: _N/A
2. Mailing address you desire notices or communications to be sent regarding this Claim if different

from section #1 above.
(A) Name: _ Same as above

Martin Sissac

 

 

(B) ADDRESS:

3. DESCRIPTION OF INJURY, DAMAGE oR Loss

Detail full extent of injuries or damages claimed
See Attachment

 

 

4, AMOUNT OF CLAIM
Indicate the amount of damages claimed and any expenditure made relating to claimed loss. Provide
documents to support the amount claimed and the expenditures (copies of bills, receipts or estimates).

In cxcess of $25,000.00

Has an insurance company paid any such bills: _No
‘Ifso, detail name of insurer and amount(s) paid: Not applicable.

Pagel of 2
CLAIM FOR DAMAGES
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 31 0f 35 Page ID #:36

5. CIRCUMSTANCE OF THE OCCURRENCE WHICH GIVE RISE TO THIS CLAIM

(4) DaTE DaMacg, INJURY OR TRANSACTION CccurreD: May 16, 2014 Time:

(B) " SpeciFic Location: _ Inglewood Police Department, One Manchester Bivd..
Inglewood, CA 90301

(C) SPECIFICALLY DESCRIBE HOW THE INJURY OR DAMAGE OCCURRED:
See attachment

 

 

 

€D) IDENTIFY THE ENTITY, PUBLIC EMPLOYER OR EMPLOYEES WHOSE ACTS, OMISSIONS OR BREACH CLAIMED TO HAVE
CAUSED THE INJURY OR DAMAGE: olice Chief Mark Fronterotta

 

 

(E) If A Crry VeHICLE WAS
Pualic EmpLoyvee(s): N/A
VeuicLe Make: N/A Monet: N/A LICENSE: __N/A
WITNESSES: (NAMES AND ADDRESSES OF ALL KNOWN WITNESSES, DocroRs AND/OR HOSPITALS)
Mark Fronterrota , James Madia,James Kirk
Inglewood Police Department, One Manchester Bivd., Inglewood, CA 90301
6. IF.THIS CLAIM IS BASED ON AN ALLEGED BREACH OF CONTRACT:
Please attach a copy of the contract and:
(A) IDENTIFY THE PARTIES TO THE CONTRACT:

 

 

N/A

 

(B) Date orConrract: N/A.
(C) » DATE OF ALLEGED BREACH OF CONTRACT:

WARNING; IT IS A CRIMINAL OFFENSE TO FILE A FALSE CLAIM (Penat Code Section 72)
I have read the matters and statements made in the above claim and I know the same to be true of my own
knowledge, except as to those miatters stated upon information or belief and as to such matters I believe the

same to be true.
I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF CALIFORNIA THAT THE

FOREGOING IS TRUE AND CORRECT.

N/A

 

 

 

(Signature of Claimant) (Date)
Revised 2006 °

Page 2 of 2
CLAIM FOR DAMAGES
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 32 of 35 Page ID #:37

CITY OF INGLEWOOD
CLAIM FOR DAMAGES
Claimant: Martin Sissac
D/I: May 16, 2014

3. Description of Injury, Damage or Loss.

On May 16, 2014, claimant received a written reprimand from Chief of
Police Mark Fronterotta regarding an incident (missed training class) which
occurred on or about April | through April 3, 2013. On April 4, 2013 Chief
Fronterotta was made aware that Claimant missed the training class. Pursuant to
Government Code Section 3304, the Inglewood Police Department had one year to
timely propose punitive action (including reprimand). The statute of limitations to
propose discipline expired on April 4, 2014. The Department falsely and
maliciously claimed that notice of the incident giving rise to the reprimand
occurred on May 21, 2013 in order to circumvent compliance with Government
Code Section 3304. Claimant is entitled to damages pursuant to California

Government Code Section 3309.5.

Sc Specifically Describe How the Injury or Damage Occurred.

On May 16, 2014, claimant received a written reprimand from Chief of
Police Mark Fronterotta regarding an incident (missed training class) which
occurred on or about April 1 through April 3, 2013. On April 4, 2013 Chief
Fronterotta was made aware that Claimant missed the training class. Pursuant to
Government Code Section 3304, the Inglewood Police Department had one year to
timely propose punitive action (including reprimand). The statute of limitations to
propose discipline expired on April 4, 2014. The Department falsely and
maliciously claimed that notice of the incident giving rise to the reprimand
occurred on May 21, 2013 in order to circumvent compliance with Government
Code Section 3304. Claimant is entitled to damages pursuant to California

Government Code Section 3309.5.
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 33 of 35 Page ID #:38

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

|. (a) PLAINTIFFS ( Check box if you are representing yourself [| ) DEFENDANTS ( Check box if you are representing yourself | )

CITY OF INGLEWOOD; MAJOR JAMES T. BUTTS; CHIEF OF POLICE MARK

MARTIN SISSAC
FRONTERROTA AND DOES 1 THROUGH 10, INCLUSIVE

 

 

(b) County of Residence of First Listed Plaintiff LOS ANGELES County of Residence of First Listed Defendant LOS ANGELES
(EXCEPT IN U.S. PLAINTIFF CASES} {iN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number} If you are Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information. representing yourself, provide the same information.

Joseph Y. Avrahamy, Esq. (SBN: 150885) - (818) 990-1757
LAW OFFICES OF JOSEPH Y. AVRAHAMY
16530 Ventura Blvd., Suite 208, Encino, CA 91436

 

 

 

ll. BASIS OF JURISDICTION (Place an X in one box only.) Wt. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF a PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State 1 1 Incorporated or Principal Place =] 4 [] 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [[] 2 [] 2 Incorporated and Principal Place [J] 505
US D (Ind c h > of Business in Another State

2. U.5. Government 4, Diversity (Indicate Citizenship {Citizen or Subject of a Foreign Nati 6 6

Defendant of Parties in Item II) Foreign Country O13 L)3 9 mn CO =
IV. ORIGIN (Piace an X in one box only.) 6. Multi

2. Removed fram 3. Remanded from * Reinstated or Oo §. Transferred from Another TC Distri
| LJ istrict

1. Original
Proceeding State Court Appellate Court Reopened District Specify} Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: ["] Yes No [_] MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (cite the U.S, Civit Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Viol. of 1st and 14th Amendment of U.S.Constitution against Individual Defendants & City of Inglewood under Monell; Viclation of L.C. Section 1102.5; Defamation , etc

 

  
  

  
     

    

      
       
  

        
 

     

      

  

    
  
  

 
          
   

     
 
 

     

  
 
  
 
 
  

 
 
    

 
    
  

   

 
 
   
    

      

    

 

 

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Q Pree etie ization Habeas Corpus:
[7] 409 State ([] 120 Marine (] 245 Tort Product L] 463 Alien Detainee [1 830 Patent
Reapportionment Liability oO 465 Other oO 510 Motions to Vacate
(J 410 Antitrust [-] 130 Miller Act CT 290 All Other Real I Sentence [_] 840 Trademark
\ ropert F ;
450 Commerce/ICC :
OC 150 Recovery of 376 Other Fraud :
Rates/Etc. [) Overpayment& |[_] 310 Airplane O ; Lj 862 Black Lung (923}
([] 460 Deportation Enforcement of 315 Airptane {J 37) Truth in Lending (D 540 Mandamus/Other |[[] 863 DIWC/DIWW (405 (q))
470 Racketeer Influ- Judgment CI Product Liability 0 380 Other Personal |[-] 550 Civil Rights _] 864 SSID Title XVI
C enced & Corrupt Org, |[_} 151 Medicare Act oO 320 Assault, Libel & Property Damage Cl 555 Prison Condition 865 RS! (405
(] 480 Consumer Credit 152 Recovery of Stance Employers’ [7] 385 Property Damage|~ 69 civil Detainee LO (405 (g)}
C] 490 Cableysat TV CO Defautted Student D tiabitty Product Liability Conditions of 7
Loan (Excl. Vet. Confinement ;
j ej Me 870
856 Securities‘Com- CL] 340 Marine 422 AV 128 p A Evans Defend
a 153 Recovery of ; ppea' nee efendant)
C1 modities/Exchange Cl Overpaymentot 1O] fitters oduct CO usc rss 625 Drug Related [7] 871 1RS-Third Party 26 USC
oO 890 Other Statutory Vet. Benefits 423 Withdrawal 28 C) Seizure of Property 21 7609
Actions [J 160 Stockholders [1 350Motor Vehicle [LI ysc 157 rl USC 881
891 Agricultural Acts Suits 355 Motor Vehicle EIVERIGHES 690 Other
O 303 on . al CJ Product Liability a ht r CTENGOR
nvironmenta 190 Other 60 Other P | vil Rights GOR ey
C1 Matters CO Contract oO injury er Persona F] 441 Voting Ol 710 Fair Labor Standards
im “ Freedom of Info. 195 Contract 0 362 Personal Injury- Empl «
ct (J product Liability Med Malpratice O as he pyment 0 720 Labor/Mgmt.
itrati . lury- 443 Housing, alations
(_] 896 Arbitration [-] 196 Franchise Cl 365 Personal Injury- |[_] Accommodations
= Product Liabilit
TEAEREHO PLAT lity (J 740 Railway Labor Act
899 Admin. Procedures [Bite AUPHOP. REX 367 Health Care/ 445 American with 751 Family and Medical
L] Act/Review of Appeal of |[7] 210 Land Pharmaceutical L] Disabilities- OC ¥
vei : | - Employment Leave Act
Agency Decision Condemnation Personal Injury ade A ¥yme ich 790 Other Labor
Product Liabili merican wit
oe ve cting op [CO 220 Forectosure ratte — {CA bisabiities-otner — |[O Litigation
950 Constitutionality of 230 Rent Lease & 368 Asbestos
C State Statutes ent Lease C1 Personal injury (] 448 Education o 791 Employee Ret. Inc.
Ejectment Product Liability Security Act

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number: & . CV¥i BR = 4 2 { 4 ~*

cv-71 (10/14) CIVIL COVER SHEET a eT OT he page 1 of 3
Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 34 of 35 Page ID #:39

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vill. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?
(] Yes No

If"no, “ skip to Question B. If "yes," check the
box to the right that applies, enter the [4 Orange
corresponding division in response to — ;

Question E, below, and continue from t [_] Riverside or San Bernardino Eastern

 

 
   

 

oO Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western

 

Southern

 

 

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tbs
tially be assigned to the Southern Division,

 

 

i“ : a 5 ny = eet eee a z re Pe fe EEE : st ° .
QUESTIONB: Is the United States, or |B.1. Do 50% or more of the defendants who reside in YES. Your case will ini

 

 

 

one of its agencies or employees, a —_the district reside in Orange Co.? (] Enter “Southern” in response to Question E, below, and continue
PLAINTIFF in this action? from there.
check one of the boxes to the right =>
[] Yes [x] No [7] NO. Continue to Question 8.2,
If"no, "skip to Question C. If"yes," r B.2, Do 50% or more of the defendants who reside in YES. Your case will initially be assigned to the Eastern Division.
No, "skip to Hes lone. Hoyes, answe the district raside in Riverside and/or San Bernardina [7] Enter “Eastern” in response to Question E, below, and continue
Question B.1, at right. Counties? (Consider the two counties together.) from there.
check one of the boxes ta the right ; NO, Your case will initially be assigned to the Western Division.

[_] Enter “Western” in response to Question E, below, and continue
from there

 
 
   

   

    
   

   
   

      

    
   

   

 

   

 

 

 

 

 

 

QUESTION C: Is the United States, or |C.1, Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a__ [district reside in Orange Co.? (J Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action? from there.
check one of the boxes to the right —>
L] Yes No L NG, Continue to Question C.2.
It*n0, "skip to Question D. If*yes," answer €.2, Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Eastern Division.
Skip to Neues ' ‘ district reside in Riverside and/or San Bernardino L) Enter “Eastern” in response to Question E, below, and continue
Question C.1, at right. Counties? (Consider the two counties together.)
from there.
check one of the boxes to the right => NO. Your case will initially be assigned to the Western Division.
(1 Enter “Western” in response to Question E, below, and continue
from there.

 

 

 

 

    

 

 
 

 

 

      

 

  
 
 
 
 
 
 
 

  
 

 

 

 

    
 

  

 

 

 

 

a ive ise 3 i :
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district oO Cc
reside, (Check up to two boxes, or leave blank if none of these choices apply.)
indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices L] C]
appyy. — Se = a — ,
ES : Eee eas hips Ne aa e Aa RG PS hs a eC ee ORE
D.1. Is there at least one answer in Column A? D.2. Is there at least one answer in Column 8?
[]Yes []No [J Yes [] No
If"yes," your case willinitially be assigned to the If "yes," your case will initially be assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.
Enter “Southern” in response to Question E, below, and continue from there. Enter "Eastern" in response te Question E, below.
if"no," go to question D2 tothe right. = If "no," your case will be assigned to the WESTERN DIVISION.
Enter “Western” in response to Question E, below.
i Evinitial
, ar : :
Enter the initial divisio. rmined by Question A, B,C, or D above: mmm.» | WESTERN
Riya Leun eae aS re sry ae agi = tree rhe
QUESTIOR { : HH
s WESUE ee ? ff
No

 

 

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Case 2:15-cv-01741-JAK-FFM Document 1 Filed 03/10/15 Page 35 of 35 Page ID #:40

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO L] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: |s this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

Ne) (J ves

HF yes, list case number(s):

 

Civil cases are related when they (check all that apply):
E] A. Arise from the same or a closely related transaction, happening, or event:
| B. Calt for determination of the same or substantially related or similar questions of law and fact: or

] C. For other reasons would entail substantial duplication of labor if heard by different judges,

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
[_] A. Arise from the same or a closely related transaction, happening, or event;
{] B. Call for determination of the same or substantially related or similar questions of law and fact: or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

, _
X. SIGNATURE OF ATTORNEY Bl / yo
(OR SELF-REPRESENTED LITIGANT): S : AML A coor" DATE: 03/05/2015

Notice to Counsel/Parties: The submissi nf this Civil Cover Sheet is required by Lodal Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as fequired by law, except as provided by local rules of court, For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Sacial Security Cases:

Nature ofSuitCode Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,

861 HiA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part 8, of the Federal Coa) Mine Health and Safety Act of 1969. (30 U.S.C,
923)

B63 pwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g)}

863 piww All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 ssID amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (g})

 

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